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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    COMMODITY FUTURES TRADING
    COMMISSION,
                                                            Case No. 8:19-CV-886-T-33SPF

           Plaintiff,

    v.

    OASIS INTERNATIONAL GROUP,
    LIMITED; OASIS MANAGEMENT, LLC;
    SATELLITE HOLDINGS COMPANY;
    MICHAEL J DACORTA; JOSEPH S.
    ANILE, II.; RAYMOND P MONTIE III;
    FRANCISCO “FRANK” L. DURAN; and
    JOHN J. HAAS,

           Defendants;

    and

    MAINSTREAM FUND SERVICES, INC.;
    BOWLING GREEN CAPITAL
    MANAGEMENT LLC; LAGOON
    INVESTMENTS, INC.; ROAR OF THE
    LION FITNESS, LLC; 444 GULF OF
    MEXICO DRIVE, LLC; 4064 FOUNDERS
    CLUB DRIVE, LLC; 6922 LACANTERA
    CIRCLE, LLC; 13318 LOST KEY PLACE,
    LLC; and 4 OAKS LLC,

    Relief Defendants.
                                                  /

                    AMENDED LOCAL RULE 3.01(G) CERTIFICATION
                  REGARDING THE RECEIVER’S MOTION TO APPROVE
                  A PROCEDURE FOR THE SALE OF GOLD AND SILVER

           On November 11, 2019, Burton W. Wiand, as receiver over the assets of the above-

    captioned defendants and relief defendants (the “Receiver”), moved the Court to approve a
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    procedure to sell more than 1,000 pounds of gold and silver. Doc. 197. That motion

    contained the following Local Rule 3.01(g) certification:

                             LOCAL RULE 3.01(G) CERTIFICATION

           Counsel for the Receiver has consulted with counsel for the parties and is authorized

    to represent to the Court that the CFTC, the United States, defendant Montie, defendant

    Haas, defendant Anile, defendant Duran, and relief defendant Mainstream have no objection

    to the relief requested in the motion. The other entities (except Satellite Holdings, which is

    associated with defendant Haas) have defaulted. Counsel attempted to contact defendant

    DaCorta by email on November 1 and again on November 4, 2019 without success.

    (DaCorta has a public defender, but that attorney is not participating in the civil litigation; the

    Receiver also does not have a working telephone number for defendant DaCorta at this time).

    Because defendant DaCorta’s interest in the metals has been forfeited to the United States,

    and the other participants in this litigation have no objection, the Receiver asks the Court to

    grant this motion and allow him to proceed with the sale.



           Defendant DaCorta has now responded that he will not object to the relief requested

    in the motion. As such, the Receiver asks the Court to grant the motion as unopposed.




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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 6, 2019, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system, and also served the

    following non-CM/ECF participants by mail and/or email:

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                                               Respectfully submitted,

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                                               Attorneys for the Receiver, Burton W. Wiand




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